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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                       : CASE NO. 22-59140-JRS
                                             :
SHANNON ALETHEA SMITH,                       : CHAPTER 7
                                             :
                                             :
         Debtor.                             :
                                             :

                     MOTION TO REOPEN CHAPTER 7 CASE
           FOR THE PURPOSE OF DISCLOSING A PERSONAL INJURY CLAIM


   COME NOW the Debtor in the above-styled Chapter 7 case, through counsel, and files this

"Motion to Reopen Chapter 7 Case for the Purpose of Disclosing a Personal Injury Claim" showing

to this Honorable Court the following:

                                                1.

   This Honorable Court has jurisdiction in this matter pursuant to 28 U.S.C. Sections 151, 157 and

1334. Venue is appropriate pursuant to 28 U.S.C. Section 1408.

                                                2.

   This motion is brought pursuant to 11 U.S.C. Section 350(b) and Rule 5010 of the Federal Rules

of Bankruptcy Procedure.

                                                3.

   The above-styled case was filed as a Chapter 7 on November 10, 2022 and closed with a

discharge by Order of this Court on November 10, 2022.



                                                4.

   The Debtor will be filing amended schedules once the Chapter 7 case is reopened.
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                                                  5.

   The Debtor wishes to reopen the case to disclose a Personal Injury Claim and Settlement offered

to the Debtor.

                                                  6.

   A $260.00 filing fee has been paid contemporaneously with the filing of this motion.



   WHEREFORE, Debtor prays:

   (a) that this Motion be filed, read and considered;

   (b) that this Honorable Court grant this Motion and reopen

       the Chapter 7 case;

   (c) that this Honorable Court grant such other and further

       relief as it deems just and proper.



                                                         Respectfully submitted,


                                                         ___/s/__________________________
                                                         Iesha Warmack
                                                         GA Bar #865980
                                                         Attorney for Debtor
CLARK & WASHINGTON, P.C.
3300 Northeast Expressway
Building 3, Suite A
Atlanta GA 30341
(404) 522-2222
Fax: 770-220-0685
Email: ecfnotices@cw13.com
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                        : CASE NO. 22-59140-JRS
                                              :
SHANNON ALETHEA SMITH,                        : CHAPTER 7
                                              :
                                              :
         Debtor.                              :
                                              :

          NOTICE OF HEARING ON MOTION TO REOPEN CHAPTER 7
     CASE FOR THE PURPOSE OF DISCLOSING A PERSONAL INJURY CLAIM

         PLEASE TAKE NOTICE that the above-referenced Debtor filed a Motion to Reopen
Chapter 7 Case for the Purpose of Disclosing a Personal Injury Claim, seeking that the Court
enter an order authorizing Debtor to disclose personal injury claim.
         PLEASE TAKE FURTHER NOTICE that the Court will hold an initial telephonic
hearing for announcements on the matter at the following number: 833-568-8864; access code
1614180533 at 9:40AM, on March 30, 2023 in Courtroom 1404 of the United States
Bankruptcy Court, 75 Ted Turner Drive, SW, Atlanta, GA, 30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as
determined by the Court in connection with this initial telephonic hearing. Please review the
“Hearing Information” tab on the judge’s webpage, which can be found under the “Dial-in and
Virtual Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.
         Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court
to grant the relief sought in these pleadings or if you want the court to consider your views, then
you and/or your attorney must attend the hearing. You may also file a written response to the
pleading with the Clerk at the address stated below, but you are not required to do so. If you file
a written response, you must attach a certificate stating when, how and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk,
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United States Bankruptcy Court, Room 1340, 75 Ted Turner Drive, SW, Atlanta, GA, 30303.
You must also mail a copy of your response to the undersigned at the address stated below.



                                        /s/
         Clark & Washington, P.C.       Iesha Warmack, GA Bar No. 865980
         3300 Northeast Expwy Bldg 3    Attorney for Debtor
         Atlanta, GA 30341
         Phone: 404-522-2222
         Fax: 770-220-0685
         Email: ecfnotices@cw13.com
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                                 CERTIFICATE OF SERVICE

       I, the undersigned, certify that I am over the age of 18 and that on this date I served a
copy of the foregoing Motion to Reopen Chapter 7 Case for the Purpose of Disclosing a
Personal Injury Claim and Notice of Hearing on Motion to Reopen Chapter 7 Case for the
Purpose of Disclosing a Personal Injury Claim by first class U.S. Mail, with adequate postage
prepaid on the following persons or entities at the addresses stated:


 Shannon Smith
 460 Leigh Kay Dr
 Lawrenceville, GA 30046

 S. Gregory Hays, Chapter 7 Trustee
 Hays Financial Consulting, LLC
 Suite 555
 2964 Peachtree Road
 Atlanta, GA 30305

       And, in the same manner, I served the parties listed in the attached matrix by mailing
copies of the foregoing Motion and Notice to the addresses indicated therein.



                                          Dated: 3/1/2023
                                          /s/
         Clark & Washington, P.C.         Iesha Warmack, GA Bar No. 865980
         3300 Northeast Expwy Bldg 3      Attorney for Debtor
         Atlanta, GA 30341
         Phone: 404-522-2222
         Fax: 770-220-0685
         Email: ecfnotices@cw13.com
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Label Matrix for local noticing                     CFNA/Credit
                                                         DocumentFirst Natl Assoc
                                                                             Page 6 of 6                 Caine & Weiner
113E-1                                              Attn: Bankruptcy                                     Attn: Bankruptcy
Case 22-59140-jrs                                   Po Box 81315                                         5805 Sepulveda Blvd
Northern District of Georgia                        Cleveland, OH 44181-0315                             Sherman Oaks, CA 91411-2546
Atlanta
Wed Mar 1 09:54:54 EST 2023
Capital One                                         Carter-Young                                         E. L. Clark
Attn: Bnakruptcy                                    Attention: Bankruptcy                                Clark & Washington, LLC
P.O. Box 30285                                      120 2nd St, 2nd Floor                                Bldg. 3
Salt Lake City, UT 84130-0285                       Monroe, GA 30655-2391                                3300 Northeast Expwy.
                                                                                                         Atlanta, GA 30341-3932

Credit One Bank                                     Dept of Ed/Nelnet                                    First Premier Bank
Attn: Bankruptcy Department                         Attn: Bankruptcy Claims/Nelnet                       Attn: Bankruptcy
Po Box 98873                                        Po Box 82505                                         Po Box 5524
Las Vegas, NV 89193-8873                            Lincoln, NE 68501-2505                               Sioux Falls, SD 57117-5524


(p)GEORGIA DEPARTMENT OF REVENUE                    H & A Credit Corporation                             S. Gregory Hays
COMPLIANCE DIVISION                                 c/o William H. Arroyo, RA                            Hays Financial Consulting, LLC
ARCS BANKRUPTCY                                     4228 First Avenue                                    Suite 555
1800 CENTURY BLVD NE SUITE 9100                     Suite 10                                             2964 Peachtree Road
ATLANTA GA 30345-3202                               Tucker, GA 30084-4426                                Atlanta, GA 30305-4909

IRS                                                 Office of the United States Trustee                  Shannon Alethea Smith
401 W. Peachtree St., NW                            362 Richard Russell Building                         460 Leigh Kay Dr
Stop #334-D                                         75 Ted Turner Drive, SW                              Lawrenceville, GA 30046-8335
Room 400                                            Atlanta, GA 30303-3315
Atlanta, GA 30308

(p)SUNBIT INC                                       U S Auto Finance, Inc.                               US Auto Finance, Inc.
ATTN LEGAL AND COMPLIANCE                           Attn: Bankruptcy                                     P.O. Box 1203
PO BOX 24010                                        919 N Market St, Ste 202                             Lawrenceville, GA 30046-1203
LOS ANGELES CA 90024-0010                           Wilmington, DE 19801-3129


United States Attorney
Northern District of Georgia
75 Ted Turner Drive SW, Suite 600
Atlanta GA 30303-3309




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Georgia Department of Revenue                       Tab/sunbit                                           End of Label Matrix
Compliance Division                                 Attn: Bankruptcy                                     Mailable recipients     18
ARCS Bankruptcy                                     10880 Wilshire Blv Suite 870                         Bypassed recipients      0
1800 Century BLVD NE Suite 9100                     Los Angeles, CA 90024                                Total                   18
Atlanta, GA 30345-3202
